UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF TENNESSEE
NASHVILLE DIVISION
SHANE AND ALYSON DECKER,

Plaintiffs,

 

V.

HANOVER INSURANCE COMPANY,

\-/\_»/\_/\_/\_/\_/\_/\_/\_/

Defendant.

NOTICE OF REMOVAL

 

NOW INTO COURT, through undersigned counsel, comes defendant, The Hanover
Insurance Company (hereinafter “Hanover”), Which pursuant to 28 U.S.C. §§ 1332, 1441, and
1446, and With a full reservation of all rights and defenses, hereby removes the action styled
“Shane and Alyson Decker v. Hanover lnsumnce Company,” No. 13C5337, Jfrom the Circuit
Court for Davidson County, Tennessee at Nashville to the United States District Court for the
Middle District of Tennessee, l\lashville Division. This Court has subject matter jurisdiction
over the claims of Plaintiffs, Shane and Alyson Decker (“Plaintiffs”), under 28 U.S.C. § 1332 as
the matter in controversy exceeds the sum of $75,000, exclusive of interest and costs, and is
properly between citizens of different states Hanover respectfully submits that the grounds for
removal are as follOWs:

THE NO’I`ICE OF REMOVAL IS TIMELY
l.
Plaintiffs filed a Cornplaint (“the Cornplaint”) entitled “Shane and Alyson Decker v.

Hanover fnsurance Company,” NO. 13C5337 on December 27, 2013, in the Circuit Court for

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Davidson County, Tennessee at Nashville, Which is Within the Middle District of Tennessee,
Nashville Division.
2.

Hanover Was served With process through the Tennessee Department of Comrnerce and
lnsurance on or about January 9, 2014.

3.

This Notice of Removal is being filed Within thirty (30) days after Hanover Was served
With Plaintiff’s Complaint and less than one (l) year after the commencement of the action.
Additionally, there is no other defendant in this action. Accordingly, the Notice of Removal is
timely pursuant to 28 U.S.C. § l446(b).

THE PARTIES A`RE CITIZENS OF DIFFERENT STATES
3.

Upon information and belief, at the time Plaintiffs filed their Complaint and Hanover

filed its Notice of Removal, Plaintiffs Were and still are residents of Termessee.
4.

At the time Plaintiff filed its Cornplaint and Hanover liled its Notice of Removal,
Hanover Was and still is a New Hampshire corporation With its principal place of business in
Massachusetts.

5.
Accordingly, there is complete diversity of citizenship between Plaintiff and Hanover.

THE AMOUNT IN CONTROVERSY EXCEEDS $75.000.00, EXCLUSIVE OF
INTEREST AND COSTS

6.

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The Cornplaint seeks coverage under Hanover policy number HV5-9579040-01 (the

“Policy”) for physical loss and damage to the alleged insured premises
7.

Although a specific amount in controversy is not alleged in the Complaint, the Policy at
issue carries a coverage limit of $193,000.00 for property coverage, Which alone satisfies the
jurisdictional minimum Additionally, Plaintiffs seek an unspecified amount compensatory
damages

JURISDICTION
8.

The above-described action is one over Which this Honorable Court has original
jurisdiction pursuant to 28 U.S.C. § 1332, as the controversy is Wholly between citizens of
different states and the amount in controversy exceeds the sum of 875,000, exclusive of interest
and costs. Therefore, in accord vvith 28 U.S.C. § 1441, this case may be removed to the United
States District Court for the Middle District of Tennessee, Nashville Division.

9.

Pursuant to 28 U.S.C. § l446(a), a copy of all process, pleadings, and orders Which have
been received by Hanover are hereby attached to this Notice of Removal, along With the entirety
of the State Court records. See Exhibit A.

10.

Concurrent With the filing of this Notice of Removal, Written notice is being given to all

parties, and a copy of this Notice cf Removal is being filed With the Clerk of Court for the

Circuit Court of Davidson County, Tennessee at Nashville.

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WHEREFORE, defendant, The I-Ianover insurance Company, prays that thisJ its Notice
of Renioval, be deemed good and sufficient and that his aforesaid Complaint be removed from
the Circuit Court of Davidson County, Tennessee, at Nashville and that this Honorable Court
enter such orders and issue such process as may be proper to bring before it copies of all records
and pleadings in such civil action from such state court, and thereupon proceed with the civil

action as if it had been commenced originally in this Honorable Court.

Respectfully submitted,
DICKINSON WRIGHT PLLC

BY: John E. Anderson, Sr.

 

J olin E. Anderson, Sr,, #l 3698
424 Church Street, Suite 1401
Nashville, Tennessee 3721 9
Telephone: 615-244-6538

ATTORNEY FOR DEFENDANT THE
HANOVER INSURANCE COMPANY

CERTIFICATE ()F SERVICE

l hereby certify that a true and correct copy of the foregoing instrument has been served
upon all counsel as listed below by placing a copy of same in the United States mail, postage
prepaid, to:

Sonya S. Wright

HAGAN & FARAR, PLLC
106 N. Church Street
l\/Iurfreesboro, TN 371 3 0
COUNSEL FOR PLAINTIFF

Dated: January 21, 2014
John E. Anderson, Sr.

 

John E. Anderson, Sl",

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